                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                   5:05CR258-2

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                           ORDER
                                    )
ROBERT JAMES CRISP,                 )
                  Defendant.        )
___________________________________ )

        THIS MATTER is before the court on Defendant’s Motion to Permit the Provision to the

Defendant of a copy of his Presentence Investigation Report (“PSR”) (Document #266), filed March

8, 2010.

        Defendant is currently appealing his conviction and sentence, and he wishes to obtain a copy

of his Presentence Report in relation to this appeal. Defense counsel informs the court that

Defendant’s appeal “may well involve an issue or issues relative to [the PSR];” however, no specific

issues on appeal are identified that pertain to the findings of the PSR. It is the standing policy of the

Bureau of Prisons not to allow inmates to possess copies of their PSR.

        Based on the foregoing, the Court will GRANT Defendant’s Motion in part and DENY

Defendant’s Motion in part, as follows:

        Defense counsel may discuss any and all elements of Defendant’s PSR with Defendant and

may show Defendant a copy of the PSR during the course of their discussion. However, Defense

counsel shall not allow Defendant to retain a copy of his PSR once their meeting concludes.

        SO ORDERED.




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                                 Signed: April 16, 2010




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